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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                       CASE NO.: _____________


 OPHELIA LINDA 1,

        Plaintiff,

 v.

 WAL-MART ASSOCIATES, INC.,

      Defendant.
 _________________________________/

                           DEFENDANT’S NOTICE OF REMOVAL

        Defendant Wal-Mart Associates, Inc. d/b/a SAM’S CLUB (“Defendant” or “Sam’s

 Club”), by and through its undersigned counsel, and pursuant to 28 U.S.C. §§ 1332, 1441,

 respectfully files this Notice of Removal giving notice that it is removing this civil action to the

 United States District Court for the Southern District of Florida, Miami Division. In support of

 this Notice of Removal, Defendant states as follows:

 I.     PROCEDURAL HISTORY

        1.      On or about June 20, 2019, Plaintiff filed a Complaint in the Circuit Court of the

 Eleventh Judicial Circuit in and for Miami-Dade County, Florida entitled Ofelia Linda v. Wal-

 Mart Stores Associates, Inc. d/b/a SAM’s Club Case No. 2019 017114-CA -01. (“State Court

 Action”). Plaintiff alleges Walmart violated the Florida Civil Rights Act, §760.01, et seq.

 (“FCRA”) when it terminated his employment on June 20, 2018. Plaintiff claims he was




 1
  The Complaint incorrectly identifies the Plaintiff as Ophelia Linda. Her correct name is
 Ophelia Linder.
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 discriminated against on the basis of race and retaliated against for opposing unlawful

 employment practices.

        2.      Plaintiff served Defendant’s agent for service of process with a Summons and a

 copy of the Complaint on June 24, 2019. A copy of the Summons is attached as Exhibit A.

        3.      This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b) within

 thirty-days (30) from the date on which summons was deemed effectively served. See Murphy

 Brothers, Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354 (1999).

        4.      A true and legible copy of all pleadings and other papers or exhibits of every kind

 on file in the State Court Action are attached as Exhibit B.

        5.      This case is a civil action that may be removed to this Court pursuant to 28 U.S.C.

 §§ 1332, 1441 and 1446 because it is an action between citizens of different states and the

 amount in controversy exceeds the sum of $75,000, exclusive of interest and costs.

 II.    DIVERSITY OF CITIZENSHIP

        6.      To qualify for diversity jurisdiction, there must be complete diversity between the

 parties, which means that no plaintiff may be a citizen of the same state as any defendant. See

 Pease v. Medtronic, Inc., 6 F. Supp. 2d 1354, 1356 (S.D. Fla. 1998) (citing Tapscott v. MS

 Dealer Service Corp., 77 F.3d 1353 (11th Cir. 1996), overruled on other grounds by Cohen v.

 Office Depot, 204 F.3d 1069 (11th Cir. 2000)).

        7.      In the Complaint, Plaintiff indicates she resides in Florida. (See Compl. ¶ 3).

 Thus, Plaintiff is a citizen of the State of Florida for purposes of 28 U.S.C. § 1332.

        8.      Pursuant to 28 U.S.C. § 1332(c)(1), “a corporation shall be deemed to be a citizen

 of every State . . . by which it has been incorporated and of the State . . . where it has its

 principal place of business . . . .” 28 U.S.C. § 1332(c)(1) (emphasis added). Defendant Wal-
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 Mart Associates, Inc. is incorporated in the state of Delaware. To determine a corporation’s

 principal place of business, courts apply the “nerve center” test, which deems the principal place

 of business to be the state in which the corporation’s officers direct, control, and coordinate the

 corporation’s activities. Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010). A corporation’s

 principal place of business normally is the state in which it maintains its main headquarters. Id.

 Defendant Wal-Mart Associates, Inc.’s headquarters and corporate offices are located in

 Arkansas, which is where its officers and directors perform the company’s executive and

 administrative functions. Thus, its principal place of business is Arkansas. Based on the

 foregoing, Defendant is a citizen of Delaware and Arkansas for diversity purposes.

        9.      Accordingly, for the purposes of 28 U.S.C. § 1332(a)(1), diversity jurisdiction

 exists between Plaintiff (a citizen of Florida) and Defendant (a citizen of Delaware and

 Arkansas) at the time of filing this Notice of Removal.

 III.   AMOUNT IN CONTROVERSY

        10.     Pursuant to 28 U.S.C. § 1332(a)(1), diversity jurisdiction also requires the amount

 in controversy to “exceed the sum or value of $75,000.00.”

        11.     Plaintiff’s Complaint alleges damages exceeding $15,000.00, exclusive of

 interest, costs and attorneys’ fees. See ¶ 1, Compl. Where the initial pleading does not demand a

 specific sum, the notice of removal may assert the amount in controversy. 28 U.S.C.

 § 1446(c)(2)(A). The Supreme Court has held that a removing defendant “need include only a

 plausible allegation that the amount in controversy exceeds the jurisdictional threshold” and need

 not submit evidence in support thereof. See Dart Cherokee Basin Operating Co., LLC v. Owens,

 135 S. Ct. 547, 554 (2014).

        12.     In assessing the amount in controversy, the Court considers the value of the

 plaintiff’s claims by estimating the amounts that “will be put at issue during the litigation,” and
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 not how much plaintiff is ultimately likely to recover. See S. Fla. Wellness, Inc. v. Allstate Ins.

 Co., 745 F.3d 1312, 1315 (11th Cir. 2014); see also Pretka v. Kolter City Plaza II, Inc., 608 F.3d

 744, 751 (11th Cir. 2010) (citation omitted) (explaining “the plaintiffs’ likelihood of success on

 the merits is largely irrelevant to the court’s jurisdiction because the pertinent question is what is

 in controversy in the case, not how much the plaintiffs are ultimately likely to recover”). In

 conducting its analysis, the Court may rely upon its “judicial experience and common sense,”

 rather than a plaintiff’s self-serving representations that the value of his claims is indeterminate.

 See Roe v. Michelin N. Am., Inc., 613 F.3d 1058, 1064 (11th Cir. 2010).

        13.     A plain reading of Plaintiff’s Complaint – together with the jurisdictional

 allegations herein – demonstrates the amount in controversy exceeds the sum of $75,000.00, and

 thus, meets the jurisdictional amount required for removal based on diversity. See 28 U.S.C. §

 1332(a).

        14.     Specifically, Plaintiff alleges in the Complaint he worked for Defendant from

 2000 until June 20, 2018. (Compl. ¶ 11). Plaintiff claims her supervisor would reprimand her

 for activities for which other employees were not reprimanded. (Compl. ¶¶ 14). She claims that

 she voiced discriminatory behavior to her Store Manager but the situation was not addressed.

 (Compl. ¶ 16). Plaintiff alleges she was terminated for not transferring merchandise. (Compl. ¶

 17).   Plaintiff claims she was actually terminated based upon her race and because she

 complained of discriminatory employment practices. (Compl. ¶¶ 20-24, 34).

        15.     Based on those alleged facts, Plaintiff is seeking “damages,” including but not

 limited to, back pay, benefits adjustment, prejudgment interest, compensatory damages for

 mental anguish, personal suffering, and loss of enjoyment of life, reinstatement to his position or

 in lieu of reinstatement an award of front pay, costs, and attorney’s fees. (Compl. pp. 4-7).
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 Compensatory damages, lost wages, punitive damages, and attorneys’ fees are all recoverable

 pursuant to FCRA, § 760.11(5).

        16.    As to lost wages, back pay should be calculated from the time of the adverse

 employment action through the date of trial. E.g., Pope v. 20/20 Commc’ns, Inc., No. 8:15-cv-

 1774-30JSS, 2015 WL 5165223, at *2 (M.D. Fla. Sept. 2, 2015) (back-pay damages calculated

 through proposed date of trial); Hendry v. Tampa Ship, LLC, No. 8:10-cv-1849-T-30-30TGW,

 2011 WL 398042, *2 (M.D. Fla. Feb. 4, 2011) (“Back pay is generally calculated from the date

 of the adverse employment action to the date of judgment.”); Morgan v. Sears, Roebuck & Co.,

 No. 12-60055-CIV, 2012 WL 2523692, at *2 (S.D. Fla. June 29, 2012) (calculating back pack

 from time of termination through expected trial date, noting that court may use its “judicial

 experience and common sense” in making that determination). 2

        17.    Plaintiff was paid $16.36/hour at the time of her termination, and she typically

 worked about 35 hours per week. Thus, following Plaintiff’s termination on June 20, 2018, her

 lost wages were approximately $573 per week. As of the date of this removal, it has been

 approximately 57 weeks since Plaintiff’s employment ended. Accordingly, Plaintiff’s back pay

 to date is approximately $32,661 not including the value of benefits. Adding an additional year




 2
   See also, Penalver v. N. Elec., Inc., No. 12-80188-CIV, 2012 WL 1317621, at *3 (S.D. Fla.
 Apr. 17, 2012) (calculating back pay through the “first possible trial date” approximately ten
 months after removal); Messina v. Chanel, Inc., No. 10-24518-CIV, 2011 WL 2610521, at *2
 (S.D. Fla. July 1, 2011) (including back pay through estimated time of trial eighteen months in
 the future). Indeed, the Eleventh Circuit has approved calculating back pay through the
 estimated time of trial for purposes of the amount in controversy. See Wineberger v. Racetrac
 Petroleum, Inc., No. 5:14-cv-653-Oc-30PRL, 2015 WL 225760, at *3 (M.D. Fla. Jan. 16, 2015)
 (calculating back pay from termination through estimated trial date of twenty-four months after
 complaint was filed, along with front pay of one year), aff’d by Wineberger v. RaceTrac
 Petroleum, Inc., 672 F. Appx. 914, 917 (11th Cir. 2016) (approving same).
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 of back pay to account for the expected time between now and trial, Plaintiff could recover

 approximately $62,457 in total back pay. 3

        18.     Front pay further augments the amount of lost wages in this action. See Brown v.

 Cunningham Lindsey U.S., Inc., No. 305CV141J32HTS, 2005 WL 1126670, at *4 (M.D. Fla.

 May 11, 2005) (crediting back pay from the time of plaintiff’s termination through the estimated

 time of trial and crediting one year of front pay as a conservative measure of potential future lost

 wages); Wineberger, 672 F. App’x at 917 (approving inclusion of one year of front pay in

 amount in controversy calculation under FCRA); see also Munoz v. Oceanside Resorts, Inc., 223

 F.3d 1340, 1349 (11th Cir. 2000) (affirming district court’s award including one year’s worth of

 front pay in discrimination case). Thus, adding one year of front pay (totaling $29,796) results in

 approximately $92,253 of total lost wages.

        19.     Additionally, district courts routinely include compensatory damages in the form

 of pain and suffering, such as Plaintiff claims in this case, in the jurisdictional amount as well.

 See Estevez-Gonzalez v. Kraft, Inc., 606 F. Supp. 127, 129 (S.D. Fla. 1985) (including

 unspecified amount of compensatory damages for “physical and mental pain, physical handicap,

 impairment of working ability, injuries permanent or continuing in nature, and medical

 expenses”); Bartley v. Starwood Hotel & Resorts Worldwide, Inc., No. 07-80637-CIV, 2007 WL

 2774250, at *1 (S.D. Fla. Sept. 24, 2007) (finding that complaint “clearly established” amount in

 controversy based on general allegations of pain, mental anguish, scarring, disfigurement, loss of

 enjoyment of life, medical expenses, etc.). For instance, Judge Moody of the Middle District

 included compensatory damages in the range of $5,000-$30,000 under FCRA for purposes of

 calculating the amount in controversy, when the complaint merely alleged emotional distress in

 3
  $573/week x 57 weeks = $32,661. $573 x 52 (additional year until trial) = $29,796. $32,661+
 $29,796 = $62,457 through trial.
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 the nature of “that which would have been experienced by most individuals suddenly terminated

 from their jobs for unsavory reasons.” Wineberger, 2015 WL 225760 at *4, aff’d by Wineberger,

 672 F. Appx. at 917. Indeed, the Eleventh Circuit has held that objective medical testimony is

 not necessary to support an award of emotional distress damages under FCRA, and plaintiff’s lay

 testimony concerning the emotional impact of illegal termination was itself sufficient to support

 such award. See Munoz, 223 F.3d at 1348 (affirming jury award of $150,000 for emotional

 distress caused by illegal termination under FCRA); see also Bernstein v. Sephora, Div. of DFS

 Grp. L.P., 182 F. Supp. 2d 1214, 1228 (S.D. Fla. 2002) (finding compensatory damages of

 $75,000.00 was maximum recoverable in discrimination case when evidence consisted mainly of

 plaintiff’s “own rather conclusory testimony about her general distress”).

        20.     Plaintiff seeks emotional distress damages. Based on the case law above,

 $25,000.00 for emotional pain and suffering is a very conservative estimate to include in the

 amount in controversy calculation.

        21.     Adding Plaintiff’s claim for attorneys’ fees, which are recoverable under the

 FCRA, to the amount in controversy calculation, there is no question the amount in controversy

 exceeds $75,000.00. See Penalver, 2012 WL 1317621 at *3 (including reasonable attorney’s fees

 in amount of controversy calculation). Given Plaintiff’s counsel has presumably undertaken an

 initial investigation of Plaintiff’s claim and thereafter filed a Complaint, a reasonable estimate of

 attorneys’ fees to date would be $5,000.00. 4 Attorneys’ fees through trial, coupled with the

 unmitigated back pay damages, would certainly exceed the amount in controversy alone.




 4
   $92,253 in lost wages + $25,000.00 in emotional distress damages + $5,000.00 in attorneys’
 fees = $122,253.
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 IV.       NOTICE AND TIMELINESS

           22.   Finally, this Notice of Removal has been given to Plaintiff and has been filed with

 the Clerk of the Circuit Court of the Seventeenth Judicial Circuit in and for Broward County,

 within thirty days of the date service was deemed effected and is therefore timely according to 28

 U.S.C. § 1446. See Murphy Brothers, Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354

 (1999). A copy of the Notice of Filing Notice of Removal is attached hereto as Exhibit C.

           23.   The required filing fee of $400 and an executed civil cover sheet accompany this

 Notice.

           WHEREFORE, Defendant respectfully removes this action, pending in the Eleventh

 Circuit Court of Miami-Dade County, Florida to the United States District Court in the Southern

 District Court of Florida, Miami Division.

 Dated this 24th day of July 2019.


                                               Respectfully submitted,

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                                    CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on this 24th day of July 2019, I electronically filed the
 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
 document is being served this day on all counsel of record or pro se parties identified on the
 attached Service List in a manner specified, either via transmission of Notices of Electronic
 Filing generated by CM/ECF or in some other authorized manner for those counsel or parties
 who are not authorized to receive electronically Notices of Electronic Filing.
                                              s/Miguel A. Morel
                                                Miguel A. Morel




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